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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           19-cv-14211-MIDDLEBROOKS/BRANNON

  GREGORY GIBBS and
  MELISSA RITCHIE,

  Plaintiffs,

  v.

  FIRST PREMIER BANK,

  Defendant.
  _____________________________________/

                                      ORDER CLOSING CASE

          THIS CAUSE comes before the Court upon the Parties’ Joint Stipulation of Dismissal

  Without Prejudice (“Stipulation”), filed on October 7, 2019. (DE 30). The Court congratulates

  the Parties on their amicable resolution of this matter and notes that pursuant to Anago

  Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012), the Parties’ Stipulation is self-

  executing and no order of the Court is required to dismiss this action. Accordingly, it is hereby

          ORDERED and ADJUDGED that

          (1) The above-styled action is DISMISSED WITHOUT PREJUDICE.

          (2) The Clerk of Court shall CLOSE THIS CASE and DENY all pending motions AS

                MOOT.

          SIGNED in Chambers in West Palm Beach, Florida, this 8th day of October, 2019.




                                                               Donald M. Middlebrooks
                                                               United States District Judge


  Copies to:      Counsel of Record
